Case 1:21-cr-20218-AHS Document 5 Entered on FLSD Docket 04/13/2021 Page 1 of 1


                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
                            MIAMI DIVISION

                    Case No. 21-CR-20218-SINGHAL (SEALED)




 UNITED STATES OF AMERICA,
          Plaintiff,


 V.



 JOSE TERAZON MARTINEZ,
          Defendant(s).
                     /

                                   ORDER

       THIS CAUSE came before the Court and pursuant to proceedings it is

 thereupon, PURSUANT TO THE ARREST OF THE ABOVE NAMED

 DEFENDANT, THIS CASE IS HEREBY UNSEALED.

 DONE AND ORDERED at Miami, Florida.



 Dated: 4/13/2021




                              ______________________________________
                              Jonathan Goodman
                              UNITED STATES MAGISTRATE JUDGE
